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                                                            Our File No.: 115941

                                                                                        UNITED STATES DISTRICT COURT
                                                                                        EASTERN DISTRICT OF NEW YORK



                                                            Joel Weiss, individually and on behalf of all others         Docket No:
                                                            similarly situated,
                                                                                                                         CLASS ACTION COMPLAINT
                                                                                   Plaintiff,

                                                                                                                         JURY TRIAL DEMANDED
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                                                                                        vs.
                          GARDEN CITY, NEW YORK 11530




                                                            Diversified Consultants Inc.,

                                                                                  Defendant.


                                                                    Joel Weiss, individually and on behalf of all others similarly situated (hereinafter referred
                                                            to as “Plaintiff”), by and through the undersigned counsel, complains, states and alleges against
                                                            Diversified Consultants Inc. (hereinafter referred to as “Defendant”), as follows:
                                                                                                    INTRODUCTION
                                                                    1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                            Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
                                                                                                JURISDICTION AND VENUE
                                                                    2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                            and 15 U.S.C. § 1692k(d).
                                                                    3.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
                                                            events or omissions giving rise to the claim occurred in this Judicial District.
                                                                    4.     At all relevant times, Defendant conducted business within the State of New
                                                            York.



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                                                                                                        PARTIES

                                                                    5.     Plaintiff Joel Weiss is an individual who is a citizen of the State of New York
                                                            residing in Kings County, New York.
                                                                    6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                    7.     On information and belief, Defendant Diversified Consultants Inc., is a Florida
                                                            Corporation with a principal place of business in Duval County, Florida.
                                                                    8.     Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                            owed by consumers.
                                                                    9.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                    ALLEGATIONS

                                                                    10.    Defendant alleges Plaintiff owes a debt (“the Debt”).
                                                                    11.    The Debt was primarily for personal, family or household purposes and is
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                                                            therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                    12.    Sometime after the incurrence of the Debt, Plaintiff fell behind on payments
                                                            owed.
                                                                    13.    Thereafter, at an exact time known only to Defendant, the Debt was assigned or
                                                            otherwise transferred to Defendant for collection.
                                                                    14.    In its efforts to collect the debt, Defendant contacted Plaintiff by letter (“the
                                                            Letter”) dated March 29, 2018. (“Exhibit 1.”)
                                                                    15.    The Letter was the initial communication Plaintiff received from Defendant.
                                                                    16.    The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).

                                                                                                    FIRST COUNT
                                                                                             Violation of 15 U.S.C. § 1692g
                                                                                                  Validation of Debts

                                                                    17.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    18.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                            with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                            information is contained in the initial communication or the consumer has paid the debt, send the
                                                            consumer a written notice containing certain enumerated information.



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                                                                    19.    One such requirement is that the debt collector provide “the name of the creditor
                                                            to whom the debt is owed.” 15 U.S.C. § 1692g(a)(2).
                                                                    20.    A debt collector has the obligation not just to convey the name of the creditor to
                                                            whom the debt is owed, but also to convey such clearly.
                                                                    21.    A debt collector has the obligation not just to convey the name of the creditor to
                                                            whom the debt is owed, but also to state such explicitly.
                                                                    22.    Merely naming the creditor without specifically identifying the entity as the
                                                            current creditor to whom the debt is owed is not sufficient to comply with 15 U.S.C. §
                                                            1692g(a)(2).
                                                                    23.     Even if a debt collector conveys the required information, the debt collector
                                                            nonetheless violates the FDCPA if it conveys that information in a confusing or contradictory
                                                            fashion so as to cloud the required message with uncertainty.
                                                                    24.    When determining whether the name of the creditor to whom the debt is owed has
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                                                            been conveyed clearly, an objective standard, measured by how the “least sophisticated
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                                                            consumer” would interpret the notice, is applied.
                                                                    25.    The Letter fails to explicitly identify the name of the creditor to whom the debt is
                                                            owed.
                                                                    26.    The Letter states, “Current Creditor: Verizon.”
                                                                    27.     “Verizon,” even if meant as the creditor to whom the debt is owed (which is not
                                                            stated in the letter), is not specific enough to apprise Plaintiff of the identity of the creditor to
                                                            whom the debt is owed.
                                                                    28.    There is no entity named “Verizon” registered with the New York State
                                                            Department of State, Division of Corporations.
                                                                    29.    Conversely, there are ninety-one (91) disparate entities registered in New York
                                                            that begin their legal name with “Verizon.”
                                                                    30.    The least sophisticated consumer would likely be confused as to which of the
                                                            ninety-one (91) disparate entities registered in New York that begin their legal name with
                                                            “Verizon” is the creditor to whom the debt is owed.
                                                                    31.    The least sophisticated consumer would likely be uncertain as to which of the
                                                            ninety-one (91) disparate entities registered in New York that begin their legal name with
                                                            “Verizon” is the creditor to whom the debt is owed.



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                                                                    32.    Defendant failed to explicitly state the name of the creditor to whom the debt is
                                                            owed.
                                                                    33.    Defendant failed to clearly state the name of the creditor to whom the debt is
                                                            owed.
                                                                    34.    The least sophisticated consumer would likely be confused as to the name of the
                                                            creditor to whom the debt is owed.
                                                                    35.    The least sophisticated consumer would likely be uncertain as to the name of the
                                                            creditor to whom the debt is owed.
                                                                    36.    Defendant has violated § 1692g as it failed to clearly and explicitly convey the
                                                            name of the creditor to whom the debt is owed.

                                                                                                 SECOND COUNT
                                                                                            Violation of 15 U.S.C. § 1692e
                                                                                False or Misleading Representations as to the Name of
                                                                                       the Creditor to Whom the Debt is Owed
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                                                                    37.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    38.    15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                            misleading representation or means in connection with the collection of any debt.
                                                                    39.    While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
                                                            and does not preclude a claim of falsity or deception based on any non-enumerated practice.
                                                                    40.    Collection notices are deceptive if they can be reasonably read to have two or
                                                            more different meanings, one of which is inaccurate.
                                                                    41.    The question of whether a collection letter is deceptive is determined from the
                                                            perspective of the “least sophisticated consumer.”
                                                                    42.    For purposes of 15 U.S.C. § 1692e, the failure to clearly and accurately identify
                                                            the creditor to whom the debt is owed is unfair and deceptive to the least sophisticated consumer.
                                                                    43.    Because the Letter is reasonably susceptible to an inaccurate reading, as described
                                                            above, it is deceptive within the meaning of 15 U.S.C. § 1692e.
                                                                    44.    The least sophisticated consumer would likely be deceived by Defendant’s
                                                            conduct.
                                                                    45.    The least sophisticated consumer would likely be deceived in a material way by
                                                            Defendant’s conduct.



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                                                                     46.    Defendant has violated § 1692e by using a false, deceptive and misleading
                                                            representation in its attempt to collect a debt.




                                                                                                 CLASS ALLEGATIONS
                                                                    47.     Plaintiff brings this action individually and as a class action on behalf of all
                                                            persons similarly situated in the State of New York from whom Defendant attempted to collect a
                                                            consumer debt using a collection letter that sets forth “Current Creditor: Verizon,” from one year
                                                            before the date of this Complaint to the present.
                                                                     48.    This action seeks a finding that Defendant’s conduct violates the FDCPA, and
                                                            asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
                                                                     49.    Defendant regularly engages in debt collection.
                                                                     50.    The Class consists of more than 35 persons from whom Defendant attempted to
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                                                            collect delinquent consumer debts using a collection letter that sets forth “Current Creditor:
                                                            Verizon.”
                                                                     51.    Plaintiff’s claims are typical of the claims of the Class. Common questions of law
                                                            or fact raised by this class action complaint affect all members of the Class and predominate over
                                                            any individual issues. Common relief is therefore sought on behalf of all members of the Class.
                                                            This class action is superior to other available methods for the fair and efficient adjudication of
                                                            this controversy.
                                                                     52.    The prosecution of separate actions by individual members of the Class would
                                                            create a risk of inconsistent or varying adjudications with respect to the individual members of
                                                            the Class, and a risk that any adjudications with respect to individual members of the Class
                                                            would, as a practical matter, either be dispositive of the interests of other members of the Class
                                                            not party to the adjudication, or substantially impair or impede their ability to protect their
                                                            interests. Defendant has acted in a manner applicable to the Class as a whole such that
                                                            declaratory relief is warranted.
                                                                     53.    Plaintiff will fairly and adequately protect and represent the interests of the Class.
                                                            The management of the class action proposed is not extraordinarily difficult, and the factual and
                                                            legal issues raised by this class action complaint will not require extended contact with the
                                                            members of the Class, because Defendant’s conduct was perpetrated on all members of the Class


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                                                            and will be established by common proof. Moreover, Plaintiff has retained counsel experienced
                                                            in actions brought under consumer protection laws.


                                                                                                   JURY DEMAND

                                                                    54.   Plaintiff hereby demands a trial of this action by jury.

                                                                                               PRAYER FOR RELIEF
                                                                   WHEREFORE, Plaintiff respectfully requests judgment as follows:

                                                                                     a. Certify this action as a class action; and

                                                                                     b. Appoint Plaintiff as Class Representative of the Class, and
                                                                                     Plaintiff’s attorneys as Class Counsel; and

                                                                                     c. Find that Defendant’s actions violate the FDCPA; and
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                                                                                     d. Grant damages against Defendant pursuant to 15 U.S.C. § 1692k;
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                                                                                     and

                                                                                     e. Grant Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1692k;
                                                                                     and

                                                                                     f. Grant Plaintiff’s costs; together with

                                                                                     g. Such other relief that the Court determines is just and proper.


                                                            DATED: August 29, 2018

                                                                                                         BARSHAY SANDERS, PLLC

                                                                                                         By: _/s/ Craig B. Sanders ____________
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